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JUROR: Yes.

THE COURT: Thank you.

THE COURT: I will ask Mr. Pichini or Mr.
Doss if you would introduce your Special Agent who
is assisting you and also identify by name and if
present, have stand any law enforcement officers who
may be called in this matter.

MR. PICHINI: With the Court’s permission
and ladies and gentlemen of the defense. To my left
is Warren Griggs, he is an FBI agent, he will be
assisting the prosecution team in this case.

With the Court’s permission, I'll read a
list of FBI agents and at least one witness, FBI
Agent James Sweeney, these are agents and police
officers that the government may call in the course
of the trial.

Special Agent Timothy Turck, Special Agent
Richard Macko, Special Agent Robert Norton, Special
Agent Joseph Stone, Special Agent James Williamson,
there is also one civilian witness that I will ask
if you know the name, if you know the person, Wayne
Caldwell.

The following is a list of Philadelphia
Police Officers that the government may call at

trial. Detective Lamott Wesson, Detective Paul

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Worrel, Detective John Rossiter, Detective Kenneth
Curcio, Detective Michael Cohen, Detective Howard
Gelfand and Officer Ernest Bottomer, Officer James
Bushman, Officer Michael Banach and Officer Frank
Harvey.

THE COURT: Very well, thank you.

Are there any other persons who counsel
would believe should be identified as potential
witnesses?

MR. ROGERS: From either side, your Honor?

THE COURT: Sure.

MR. ROGERS: May I have a moment, sir?

(Pause. )

MR. ROGERS: May I, your Honor?

THE COURT: Yes, you may.

MR. ROGERS: Ladies and gentlemen, there
are possible witnesses that I have on this list,
they may or may not testify on behalf of the
defendant, Termaine Jackson.

Rev. Peter J. E. Harris. Warren Stewart
Bennett, Dr. Robert Cataman, Jose Castro, Craig
Jackson or Eric Johnson, I believe they are the same
person. Dr. Andrew Levette.

THE COURT: Very good.

Miss Lefeber, do you have anyone?

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MISS LEFEBER: Not at this time, your
Honor.

THE COURT: Ladies and gentlemen, you have
heard names read to you by the attorney for the
government and the attorney for Mr. Jackson and I
would ask whether any member of the panel recognizes
the name of any potential witness in this case, if
so, would you kindly raise your hand?

There are no hands and the answer is
recorded as no.

Now, the incident that has formed a basis
for the indictment return in this matter involve a
car stop, gun fire, several individuals struck by
gun fire at -- two identified as FBI agents. One
who is now deceased, alleged to have been an
occupant of a car that was stopped, it occurred
during the day time on March 16th, 1994. And, at
the time was the subject of news articles, some
television and radio reports and perhaps other media
publicity.

I ask whether any of you recall hearing or
reading or seeing anything at all about this
incident? If so, would you raise your hand.

There are quite a few hands now.

I will start on the first row and only ask

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you to identify yourself with your name and number

as to what it is that you heard or read or saw. I

will ask you that later on. I do not want you to

tell me what it is.

hands.

yes.

Can you kindly tell me your number.
JUROR: 77, Mary Donahue.

THE COURT: Thank you, Miss Donahue.

On the second row, I think I saw several

Starting with the gentleman seated fifth in,

JUROR: Elwood Watson, 325.

THE COURT: Thank you, Mr. Watson.

The gentlemen immediately in front of me.
JUROR: 157, Frederick Keeler.

THE COURT: Thank you, sir. Yes, sir.
JUROR: Number 41, Gerald Carey.

THE COURT: All right, thank you, sir.
yes, sir.

JUROR: 126, James Hammerman.

THE COURT: Thank you, Mr. Hammerman.
Anyone else on the second row?

JUROR: 311, Robert Sunshine.

THE COURT: Anyone else in the second row?
The third row, the gentleman seated first?

JUROR: 114, Gerard Golin.

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THE COURT: All right. Thank you, Mr.
Golin.

Anyone else? Yes, sir.

JUROR: 357, Dale Conicella.

THE COURT: Okay.

Anyone else?

JUROR: 272, Sandra Schaeffer.

THE COURT: Thank you, Miss Schaeffer.

Any other member of the panel who recalls
anything about this incident or reading or hearing
anything about it?

We will call on you a little later to find
out in greater detail what it is that you recall

about the incident.

There’s a delicatessen at 15th and Bristol,

Whitfield’s.

Has any member of the panel ever been to
Whitfield’s or know anything about Whitfield’s?

THE COURT: There are no hands and the
answer is recorded as no.

If you have ever served on a jury in any
court, would you kindly raise your hand.

THE COURT: Okay, quite a few.

All right and I will start on the first

row, Sir, and ask you, the gentleman seated 7th.

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JUROR: 185, Stanley Macielag.

THE COURT: May I ask you, sir, when you
served on the jury?

JUROR: Mid ‘70s.

THE COURT: Was that in a federal court or
a state court.?

JUROR: State, Delaware County.

THE COURT: Was it in a criminal or a civil
trial.

JUROR: Criminal.

THE COURT: Without telling me what verdict
the jury reached, did you reach a verdict?

JUROR: Yes, we did.

THE COURT: Now, whenever you served, you
became somewhat familiar with courtroom procedures
and the instructions of the court, and the facts of
the particular case upon which you served as a
juror.

In this case, we would ask you to consider
only the evidence presented in this case and
regardless of what you may have learned as to the
law in another case, that you decide this case
solely on the law as I instruct you.

If you were called upon to serve on this

jury, do you believe that you could decide this case

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only on the law, as I instruct you and on the
evidence in this case?

JUROR: Yes.

THE COURT: Thank you, sir.

Yes, ma’am.

JUROR: Number 32, Anna Bunalo.

THE COURT: When did you serve on a jury?

JUROR: In the ‘80s.

THE COURT: Was that in federal court or in
state court?

JUROR: In Philadelphia.

THE COURT: Was it a civil case or a
criminal case?

JUROR: I was on both.

THE COURT: Did you reach verdicts on both
cases?

JUROR: Yes, we did.

THE COURT: So that you have in terms of
any type of jury experience, you have two
experiences, one in a civil case and one ina
criminal case?

JUROR: Yes.

THE COURT: Would you be able to decide
this case, solely on the evidence presented here and

my instructions to you, putting aside anything that

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you may have learned as to the law, any other case?

when you

JUROR: Yes.

THE COURT: Thank you.

JUROR: Patricia Branch, 27.

THE COURT: Miss Branch, can you tell us
served on a jury?

JUROR: In 790.

THE COURT: Was it in state court?
JUROR: State.

THE COURT: Have you had more than one

experience as a juror?

JUROR: No.

THE COURT: In that state court case, was

that a criminal or a civil case?

JUROR: Civil.
THE COURT: Did you reach a verdict?
JUROR: They settled out of court.

THE COURT: So you did not have the judge

charge you or instruct you as to the law in that

case, but in any event if you were called upon to

serve in this case, would you be able to decide this

case solely on the law presented in this case, as I

instruct

case?

you and the evidence presented in this

JUROR: Yes.

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THE COURT: Very well, thank you.

THE COURT: Yes, ma’am.

JUROR: Juror 141, my name is Roswitha
Hoenisch. I served in Doylestown, in Bucks County.
And we did come to a verdict. It was a civil case.

THE COURT: Is that your only experience as
a juror?

JUROR: Yes.

THE COURT: About when was that, do you
know?

JUROR: That was in December of '93, just
this past December.

THE COURT: If you are called upon to serve
on this jury, do you believe that you could decide
this case solely on the evidence presented here and
my instructions to you.

JUROR: Unfortunately, I’m getting to form
an opinion already.

I don’t think I can be partial or impartial
rather.

THE COURT: All right. I noted that and we
may have occasion to talk to you later. Yes.

JUROR: Juror number 104, Jo Lund Galligan.

THE COURT: Miss Galligan.

THE COURT: When did you serve on a jury?

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JUROR: In approximately 1990, in
Allentown.

THE COURT: Federal case or a civil or
criminal?

JUROR: Criminal.

THE COURT: Federal or state I meant to ask
you?

JUROR: I’m not sure.

THE COURT: But, it was a criminal case?

JUROR: Yes, it was.

THE COURT: Did you reach a verdict?.

JUROR: I’m not sure about that either, I
wasn’t there.

THE COURT: You served but did not complete
your service, is that correct?

JUROR: That is correct.

THE COURT: You were excused prior to the
trial; did you hear some evidence in the case.

JUROR: Yes.

THE COURT: In any event, whatever it is
that you learned in that case, would you be able to
decide this case solely on the evidence presented
here and my instructions to you?

JUROR: I believe so.

THE COURT: Thank you.

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JUROR: 77, Mary Donahue. I served in the
Philadelphia Court, whatever that was, it was a
criminal case, two criminal cases in the '70s and
they both had a verdict. Then later, probably in
‘90, I may have served again in a civil suit that
was settled out of court.

THE COURT: You had two criminal cases
which reached verdict, one civil case, which settled
out of court and I would ask you the question, I
have been asking other jurors, notwithstanding your
experience as a juror, if you were called upon to
serve in this case, could you decide this case on
the evidence presented and my instructions to you?

JUROR: Yes.

THE COURT: Thank you.

The second row.

JUROR: William Carson, number 44. I served
on a criminal case in 1979, in Morristown, New
Jersey, in the state court.

THE COURT: Did you reach a verdict in that
case?

JUROR: We did.

THE COURT: Notwithstanding your prior
experience as a juror in a case, if you are called

upon to serve in this case, do you believe you will

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be able to decide this case solely on the evidence
presented here and my instructions to you?

JUROR: Yes.

JUROR: Number 29, Joe Brooks.

THE COURT: Mr. Brooks, where, when and
where did you serve?

JUROR: In 1990, in Montgomery County, in
Norristown. A criminal case and it was a hung jury.

THE COURT: If you are called upon to serve
in this case, do you believe you can do that and
decide this case solely on the evidence presented
here and my instructions to you?

JUROR: Yes, sir.

THE COURT: Thank you.

Any others on the second row?

JUROR: Number 34, Vince Busavage.

THE COURT: Mr. Busavage, when did you
serve?

JUROR: In 1990, in Allentown. It was
civil.

THE COURT: Did you reach a verdict?

JUROR: I wasn’t there. I was the
alternate juror.

THE COURT: Do you believe that

notwithstanding whatever experience you had in that

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case, that you could decide this case solely on the
evidence presented here and the law as I instruct
you?

JUROR: Yes.

THE COURT: The next row, yes.

JUROR: Number 114, Gerald Golin.

THE COURT: Mr. Golin, when and where did
you serve?

JUROR: On two juries, the first one in
1989. The second one in 1992. They were both
state. They were both criminal and we reached
verdicts in both of them.

THE COURT: If called upon to serve on this
jury, could you decide this case solely on the
evidence presented here and my instructions to you?

JUROR: Yes, sir.

THE COURT: Thank you.

Any others?

JUROR: 272, Sandra Schaeffer.

THE COURT: Pardon me, what is your --
okay I have it.

JUROR: 272.

THE COURT: Yes. When did you serve, Miss
Schaeffer?

JUROR: I think it was in ‘74.

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THE COURT: In what court?

JUROR: Allentown, in state court, and it
was a criminal case.

THE COURT: Did you reach a verdict?

JUROR: Yes.

THE COURT: If called upon to serve in this
case, do you believe you could decide this case
solely on the evidence presented here and my
instructions to you?

JUROR: Yes, sir.

THE COURT: Thank you.

Any other member of the panel who has
served on a jury?

Has any member of this panel personally
been the victim of a crime, if so, would you raise
your hand?

I will go to the second row immediately in
front of me. Yes.

JUROR: Number 157, Fred Keeler.

THE COURT: All right. May I ask when you
had this experience and without going into detail,
just what.

JUROR: It was January 15th of this year.
It was an assault.

THE COURT: By someone you knew or had a

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personal relationship or by a stranger?

JUROR: Strangers.

THE COURT: Was anyone ever apprehended?

JUROR: No.

THE COURT: You have not had any experience
in court on that case?

JUROR: No.

THE COURT: Would the fact that you have
been the victim of this conduct by others, have any
affect upon you whatsoever, if you were called upon
to serve in this case?

JUROR: Yes.

THE COURT: Okay, we will probably inquire
of you later. Okay.

Any other juror personally the victim of a
crime? I think I see a juror four seats from the
end on the second row, yes.

JUROR: Yes, your Honor, in the late ‘70s,
I was robbed at gunpoint.

THE COURT: What is your name and number?

JUROR: I’m sorry, 311. My name is Robert
Sunshine.

THE COURT: Was anyone apprehended as a
result of that?

JUROR: No.

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THE COURT: You had never gone to court on
that case?

JUROR: No, your Honor.

THE COURT: Would the fact that you had
this experience impact you in any way, if you were
called upon to serve on this jury?

JUROR: That experience would not. I would
have other concerns, due to my profession, but that
particular experience itself would not be a factor.

THE COURT: And, you are a center director
for the Pennsylvania Department of Correction?

JUROR: Yes, your Honor.

THE COURT: It is that experience may
have?

JUROR: I work with the police department
as well as occasionally the FBI.

THE COURT: All right. Thank you. If that
question comes up in another context, when you hear
it again, we already have your answer.

Victim of crime, any other juror?

JUROR: Number 34, Vince Busavage. I had
my car broken into twice.

THE COURT: Pardon me?

JUROR: My car was broken into twice. I

don’t know if it is in that class, last year. And

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about three years ago, a stereo was stolen and the
car, you know, was vandalized.

THE COURT: Anyone ever apprehended?

JUROR: No.

THE COURT: If you were called upon to
serve on this jury, could you put that aside and
decide this case solely on the evidence presented
here and my instructions to you?

JUROR: Yes.

THE COURT: You could. Thank you.

THE COURT: Yes, ma’am.

JUROR: Your Honor I didn’t understand a
victim of a crime meant other than assault, if you
meant your property was -- your house broken into,
is that what you call a crime?

THE COURT: That type of experience that

you had, which you would think would be a police

matter?
JUROR: I was robbed. I don’t know.
THE COURT: That’s criminal.
What is your name and number?
JUROR: Eleanor Tarbox, 313.
THE COURT: When were you robbed, Miss
Tarbox?

JUROR: About ten years ago.

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THE COURT: Anyone ever apprehended?

JUROR: No.

THE COURT: On that, we have a perfect
record so far.

Well, that experience that you had, do you
think you would be the appropriate person to decide
the guilt or innocence of the defendants ina
criminal case?

JUROR: I would think it would be a
separate issue not related at all.

THE COURT: Not related at all. So you
don’t think it would have any impact?

JUROR: I don’t think so, your Honor.

THE COURT: Thank you.

Yes.

JUROR: A car stolen.

THE COURT: Your number?

JUROR: 126, James Hammerman.

THE COURT: Anyone ever apprehended?

JUROR: In the house break-in, there were a
number in the area. Yes, an individual was
apprehended.

THE COURT: May I ask whether you were ever
called to go to court on that matter?

JUROR: I was not.

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THE COURT: Did you have contact with law
enforcement officials in regard to it?

JUROR: Yes.

THE COURT: Do you know of anything about
that incident that you believe would make it
inappropriate for you to serve on a jury?

JUROR: I don’t think so.

THE COURT: Do you think you could decide
this case solely on the evidence here, presented in
open court and my instructions to you?

JUROR: I think I could.

THE COURT: Thank you.

THE COURT: The second row. We are going
to the third row. I see the juror seated number 40,
I guess.

JUROR: 264.

THE COURT: She is number 39.

JUROR: 264, I was robbed at gunpoint when
I was about 15.

THE COURT: Was an arrest ever made in that
case?

JUROR: No.

THE COURT: Considering that experience, do
you believe if called upon to serve on this jury,

you can put it aside and decide this case only on

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the evidence presented here and my instructions to
you?

JUROR: I don’t know.

THE COURT: Thank you.

THE COURT: Now I have asked about the
panel members being victims of crime. All of us, of
course, I should not say that. I’11 strike that.

Sometimes even though a person is not
personally the victim of a crime, someone else is
the victim of a crime and that person is so close to
you, either because of relationship or friendship,
that it has some impact on you and it has an affect
upon you.

Any member of this panel know of any
incident involving a relative or friend who was
involved in a crime, which would in any way affect
you, if you were called upon to serve on this jury?
If so, would you raise your hand.

There are no hands and the answer is
recorded as no.

Has any member of this panel ever been
called as a witness either for the prosecution or
for the defense in a criminal matter? If so, would
you raise your hands.

I see several hands. We will explore that,

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starting with the person seated first on the second
row.

JUROR: Deanne Stewart, 308.

THE COURT: Miss Stewart, you have been a
witness?

JUROR: Yes. I’m still going to court.

THE COURT: Were you called by the

prosecution or by the person charged with the

crime?
JUROR: I was called by the prosecution.
THE COURT: Pardon me?
JUROR: The prosecution.
THE COURT: Did you have occasion to
testify?

JUROR: Excuse me?

THE COURT: Did you actually testify?

JUROR: No.

THE COURT: Was there anything about that
experience of being a participant ina trial, that
would affect you if you were called upon to serve on
this jury?

Do you think you could decide this case
solely on the evidence presented here and my
instructions to you?

JUROR: Yes, sir.

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THE COURT: Thank you.

THE COURT: Still working, I guess the
second row, any others on the second row?

Yes, is your hand up, sir?

JUROR: Yes, your Honor, 311. I had an
opportunity to testify in state court or with the
Commonwealth concerning the status of an escape of
Department of Correction inmates.

THE COURT: All right. Thank you, sir.

Next.

JUROR: 178, James Livezey.

THE COURT: You have appeared as a
witness?

JUROR: Yes. I never testified.

THE COURT: You never testified?

Were you called by the defense or the
prosecution?

JUROR: By the prosecution.

THE COURT: Is there anything at all about
that experience, which would have any effect upon
you, if you were called upon to, if you were called
upon as a juror in this case?

JUROR: No.

JUROR: Number 80, Frank Du Bree. I was a

policeman about 25 years ago, when I was involved in

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a killing at Eleventh and Market Street, but I never
had to testify in court because the person who did
the killing was killed by state police, a couple of

days later, upstate somewheres ina holdup. I never

testified in court.

THE COURT: Would your experience in that
situation, have any impact upon you, if you were
called upon to serve in this case?

JUROR: No.

THE COURT: Thank you.

JUROR: 357, Dale Conicella. 1989. I
worked for a transportation company in that general
area. I followed a couple of guys that stole stuff
off the dock and I was called by the prosecution to
testify.

THE COURT: Did you testify?

JUROR: Yes.

THE COURT: Was there anything about that
proceeding, the manner in which you were treated on
direct or cross-examination which would have any
impact upon you, if you were called upon to serve?

JUROR: No.

THE COURT: Your answer is no?

JUROR: No.

THE COURT: Thank you.

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Ladies and gentlemen as you know --

MR. PICHINI: I think there is someone in
the back row.

JUROR: 115, Goryl, military court-martial,
for the defense, as a character witness for one of
my troops, about 10 years ago.

THE COURT: Is there anything about that,
would in any way affect you, if you were called upon
to serve?

JUROR: No.

THE COURT: Ladies and gentlemen, as you
know, we have state, federal and local governments
and all have, under some name or designation, law
enforcement officers who serve the particular
governmental unit in enforcing the law.

Have you ever been involved as a law
enforcement person for any governmental agency, be
it state, local or federal? If so, would you raise
your hand. I see one hand. Yes, sir.

JUROR: Number 115.

THE COURT: Yes, sir.

JUROR: I am a retired from the Air Force
Security Police. Most of my time was with special
operations troops, never did any law enforcement

duties per se.

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THE COURT: Does any member of this panel
have any family member who is presently employed in
law enforcement? Okay.

JUROR: Otto Lange, 171.

THE COURT: Mr. Lange.

JUROR: I have a cousin, female, I think is
still in the police department, either one or the
other or both of them, one female and one male.

THE COURT: That’s with the Philadelphia
Police?

JUROR: Yes.

THE COURT: Do you have occasion to discuss
with the persons, their law enforcement duties and
experiences?

JUROR: No.

THE COURT: Would the fact that there is a
relative associated with law enforcement have any
affect upon you, if you were called upon to serve?

JUROR: No.

THE COURT: Thank you.

JUROR: Number 66, Dominic Daulerio. I
have two cousins on the Philadelphia Police
Department and my sister is a secretary for a police
department in New Jersey.

THE COURT: Are these persons that you have

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occasion to see often and discuss their police
work?

JUROR: We don’t discuss it.

THE COURT: Would the fact that you have
these cousins on the Philadelphia Police Department
have any affect upon you?

JUROR: No.

THE COURT: Thank you.

I see on the second row, juror seated
number one.

JUROR: Deanne Stewart, number 308. I have
a brother-in-law who is a police officer for the
18th District.

THE COURT: You have a brother-in-law, who
is a police officer where?

JUROR: The 18th District.

THE COURT: Do you have occasion to talk to
your brother-in-law very often about his duties as a
police officer and so forth?

JUROR: No, sir.

THE COURT: Would the fact he is on the
police department, have any affect upon you, if you
were called upon to serve?

JUROR: No, sir.

THE COURT: Thank you.

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And now we are going to the last row and
the juror seated second in the last row.

JUROR: Number 65, Brian Dalton.

THE COURT: Who do you know in the police
department?

JUROR: My father is a lieutenant in Bucks
County Sheriff’s Department.

THE COURT: You live at home with your
father?.

JUROR: Yes.

THE COURT: Do you talk to him very often
about his duties as a law enforcement officer?

JUROR: Yes.

THE COURT: You do.

Would the fact that your father is a law
enforcement officer have any affect upon you if you
were called upon to serve?

JUROR: Yes.

THE COURT: Very well. Thank you.

Yes, sir.

JUROR: Number 80, Frank Du Bree. I have a
nephew who’s a secret serviceman.

THE COURT: Is he stationed locally?

JUROR: Pardon me?

THE COURT: Is he stationed in this area?

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JUROR: Yes, Sir, at times.

THE COURT: Do you think the fact that you
have this nephew, who is in the secret service, that
fact would have any affect upon you?

JUROR: No, sir.

THE COURT: Thank you.

The juror seated.

JUROR: Number 37, Colleen McCafferty. My
brother-in-law is a policeman on the Haverford
Police Department.

THE COURT: Do you have an opportunity to
see your brother-in-law and discuss his police work?

JUROR: Yes, sir.

THE COURT: You do. Is that on a pretty
regular basis?

JUROR: Yes, sir.

THE COURT: Do you think that would have
any affect upon you, if you were called upon to
serve?

JUROR: I don’t think so. I was going to
be asked to be excused anyway because I have an
eight month old baby I’m still nursing.

THE COURT: Okay. That does not mean you
are excused, but it is something for us to consider.

We will consider that fact. Thank you.

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Have any of you, at any time in your life
been charged with any criminal conduct? And would
you kindly raise your hand.

There are no hands and the answer is
recorded as no.

Has any close family member been charged
with criminal conduct, if so, would you raise your
hand.

I note juror number 301.

If you prefer I can ask you about that at
sidebar.

JUROR: Number 171. May I discuss that
question at sidebar?

THE COURT: Okay.

Anyone else on the first row?

On the second. Miss Stewart.

JUROR: Yes.

THE COURT: Do you want to talk about it
here or at sidebar?

JUROR: Deanne Stewart, 308. I have a
sister serving time in Muncey Prison.

THE COURT: Would the fact of your sister
had this experience and is now incarcerated in
Muncey, affect you in any way if you were called

upon to serve on this jury?

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JUROR: No, sir.

THE COURT: Do you think you can decide this
case solely on the evidence presented here and my
instructions to you?

JUROR: Yes, sir.

THE COURT: Let’s see, anyone else? I
think we are going to juror 40.

JUROR: Number 37.

THE COURT: Seated 40, juror 37.

JUROR: My brother-in-law, another one, he
had a restraining order and he was jailed because of
it.

THE COURT: Did you say another one?

JUROR: A different one.

THE COURT: The one different than the
police officer?

JUROR: Yes.

THE COURT: Would the fact that now you
have this -- you have a brother-in-law, who has
been apparently physically restrained because of a
violation of a restraining order, would that have
any impact upon you or would you be able to decide
this case solely on the evidence here?

JUROR: Yes, sir.

THE COURT: Thank you.

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Any other -- does any member of this panel
have any dispute, either full fledged lawsuit or
before an administrative agency or a claim pending
for or against you, which has been brought or which
involves the federal government? Any tax claims,
suits by the federal government to collect
anything?

Any type of claim against you by the
federal government? If so, would you raise your
hand.

Do any of you have claims against the
federal government in any respect and if so, would
you raise your hand?

Now, I have mentioned to you, that
defendants are charged with criminal conduct arising
out of a particular incident.

During the course of the trial, I will have
occasion to tell you, that the indictment against --
which charges these defendants with crime is not in
itself evidence of any criminal activity. It is
simply the government’s way of notifying a person of
the charges against the particular person and that
it is not evidence, merely because they have been
charged, that is not evidence that they committed

any offense.

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Is there any juror who would not be able to
abide by such an instruction? If so, would you raise
your hand.

I see no hands and the answer is recorded
as no.

After indictment, at trial, the burden is
on the government to prove a defendant guilty of an
offense charged and to do so beyond a reasonable
doubt, to prove his guilt as to each essential
element of the offense charged beyond a reasonable
doubt.

So that a defendant in a criminal case,
need not produce any evidence and it is the
government’s burden to prove him guilty and not the
burden of the defendant to prove his innocence.

Is there any member of the panel that
disagrees with that legal statement or could not
follow such a statement? If so, would you kindly
raise your hand.

THE COURT: Now, during the course of this
trial, you will probably hear testimony of alleged
drug dealing. Since there will be some evidence
concerning narcotics or drugs, I ask whether any
member of this panel has personally experienced any

problems with the use of substances which - - with

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the illegal use of controlled substances or drugs,
if you had any problem either by using them or in
any way being in contact with them, would you kindly
raise your hand.

Within your immediate family structure, is
there any person in your family, who has a problem
with drugs, if so, would you raise your hand.

THE COURT: All right. Juror number 301.

I believe juror number 37. And I can
inguire of you at sidebar later on if we need to
unless -- I see another juror.

JUROR: 325.

THE COURT: That is Mr. Watson.

Anyone else?

Just as an aside from jury selection
problems, but just a logistical problem. I know
that some of you may have come in today from out of
town and I just want to inquire whether any of you
have any urgent transportation problems, scheduling
or so forth, if so, would you raise your hand?

We seem to be all right.

Do any of you know of any reason why a
person in your circumstance, with your frame of
mind, why you should not, with whatever frame of

mind you have, do you know of any reason why you

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should not serve on this jury? If so, would you
raise your hand.

There’s one.

JUROR: Otto Lange, 171, at sidebar.

THE COURT: You would like to tell me at
sidebar, I’1l honor that, Mr. Lange.

I think I saw a couple of other hands.

JUROR: Keeler, Fred Keeler, number 157. I
would like to talk at sidebar.

THE COURT: Okay.

Yes, sir.

JUROR: 126, James Hammerman.

THE COURT: Mr. Hammerman, you wish to
disclose it or talk at sidebar about it?

JUROR: I would say what I saw in the
newspaper accounts --

THE COURT: Okay, let’s not because you
have fellow jurors that may not know what you read.
Based on what you read you think you shouldn’t
serve?

JUROR: I have questions about it.

THE COURT: I got to the jurors in the
first row.

JUROR: Juror 104, Jo Lund Galligan.

Sidebar, please.

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THE COURT: Okay. Pardon me. Why is it
that you think you should not serve or --

JUROR: Sidebar.

THE COURT: Ali right.

There are other hands and I see Miss
Stewart, I believe, is it?

JUROR: Yes.

THE COURT: You believe you should not
serve?

JUROR: Yes.

THE COURT: lLet’s see, maybe I will ask you
to stand, I’1l have a better chance to identify all
of you.

If you would stand in addition to raise
your hand, you stand.

That’s fine. I’11 go in the first row.

JUROR: Juror 141, Roswitha Hoenisch. I
believe before, you told me you would call me to the
sidebar later. It is about the same thing.

THE COURT: Fine.

JUROR: Juror 77, Mary Donahue. I feel it
probably will be a long trial and it would be very
inconvenient to my employer.

THE COURT: Okay. We will take that into

consideration.

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I don’t know whether it will be a long
trial or not. I’m always optimistic that it will be
a matter of days. The lawyers are always
pessimistic, it is a matter of weeks but I suspect
it will probably extend into next week and maybe
consume all of next week. It may be a little longer
or a little shorter, I don’t know.

I know that you are concerned and we will
see if we can honor that.

Having heard --

JUROR: Juror 227, Dave Nudge.

I have a Florida vacation scheduled with my
children on September 30th, to begin on September
30th.

THE COURT: Do you think we may turn you
down but not the children?

JUROR: I don’t know.

THE COURT: It is something to be
considered and we will consider it.

And Miss Snyder.

JUROR: In my employment, I’m responsible
for making wage payments to individuals and they
would not be getting any payments during the time I
would be here. There’s nobody else to do that for

me. It might be a hardship for them.

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THE COURT: Thank you. Let’s see where we
are. Going back to the second row. I’11 come back
to Mr. Sunshine.

JUROR: Yes, your Honor. Two factors. My
current knowledge of the case as well as my
involvement with the Department of Corrections,
would make it difficult for me to be as impartial as
I feel one should be.

THE COURT: All right. Thank you.

Ma’‘am, may ask your number?

JUROR: I believe it is 72.

THE COURT: Is it Elizabeth Derham.

That’s juror number 71.

You believe for some reason that a person
in your state of mind should not serve?

JUROR: I have some priorities this week to
make it difficult for me to continue on the case.

THE COURT: We will probably inquire
further of you.

THE COURT: What’s your number again?

JUROR: 313, Eleanor Tarbox.

Pure selfishness. I have nonrefundable
tickets to go to Salt Lake City to see my daughter
for her birthday, and an unknown grandchild, the

28th of September.

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THE COURT: The grandchild was just
recently born?

JUROR: No, but I still haven’t seen him.
He is two years old, if you call that recent.

THE COURT: I’m taking all of this
information. I don’t know that we can honor all of
these requests or not. But, it is amazing how jury
selection works out in the final analysis, so when
we put all the information in, hopefully those of
you who have these problems, we will be able to
consider them.

JUROR: 134, I would like to say I’ma
night time employee and usually I’m sleeping at this
time of the day. I’m not positive my attention span
will be what it should be.

THE COURT: So, when you work in the
evenings, you would work that shift. You mean having
missed sleep at night, you are not sure?

JUROR: I probably won’t be working while
this is going on but I’m not positive I wouldn’t
have to.

THE COURT: All right. We will take it
into consideration.

THE COURT: Mrs. Roll, is it?

JUROR: I would like to see you at sidebar.

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THE COURT: Okay. There are certain things
in the way of instruction that the jurors will be
given from time to time. One is that the law does
not provide for any greater credibility to a person
because of his or her position or status in life.

So that if a witness is called and that
witness is a doctor or a lawyer or a police officer
or an accountant, whatever position in life they may
be, jurors are not to credit that person’s testimony
merely because of the position that he or she holds
and that is particularly true as it relates to
witnesses who are called in cases. We give no
greater credibility to those who are called by the
government or connected to the government in some
way than we do to any other witness.

Jurors are asked to ascertain and determine
credibility on the basis of the evidence that they
hear from the witness and the believability of the
witness and not based upon the job or position that
the witness holds.

Is there anyone that believes that a
witness associated with the government should
receive -- should be accorded greater believability
than one not associated with the government? If so,

would you kindly raise your hand.

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Is there any person here that believes that
a witness who is called or identified to some extent
with defendants, should be accorded greater
credibility than other witnesses just because of
their -- the fact that they are identified with the
defense? If so, would you raise your hand.

There are no hands to either question and
the answer is no.

You should not be influenced by religion or
race or color or sex or ethnic background of a
witness in considering the credibility or the
believability of a witness’ testimony.

Is there any member of this panel that
believes that for some reason, factors such as
religion, color, sex or ethnic background would
affect your determining the believability or the
credibility of a witness? If so, would you raise
your hand.

There are no hands and the answer is
recorded as no.

Witnesses will be called to the witness box
or testify from the witness stand here. We have an
amplification system in court and we suspect that
generally, and we will strive in all cases to have

the witness speak in a loud enough voice so you can

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hear the witness.

However, is there any juror that believes
that because of a hearing problem, you would not be
able to follow the evidence as it is presented in
court? If so, would you raise your hand?

Do you know of any type of physical or
mental or emotional difficulty or disability that
you have, that would make it difficult for you to
pay attention to and follow the evidence as it is
presented here in open court? If so, would you raise
your hand. There are two hands.

Yes, sir.

JUROR: Number 66, Dominic Daulerio. I’11
talk to you at sidebar.

JUROR: Number 104, Jo Lund Galligan, if I
can please talk to you at sidebar.

THE COURT: All right.

Counsel, do you know of anything else you
wish me to ask now, other than perhaps to fill out
the --

JUROR: Number 37, about the baby.

THE COURT: You told us before that would
be an inconvenience because of your young child.

JUROR: Yes.

THE COURT: Looking at your list, is there

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anything specific?

MR. ROGERS: May we approach you at
sidebar?

(Discussion at sidebar, on the record as
follows: )

MISS LEFEBER: Defendant, Melvin Williams
requested questions on voir dire. I would ask your
Honor ask -- I have two 14s. Number 13 and the
first 14 regarding the attempt to kill FBI agents.

THE COURT: I will ask that.

MISS LEFEBER: Thank you, your Honor.

THE COURT: I’‘11l give it back to you.

13 and 14.

MR. BROOKS: As to Mr. Jackson, number 27
concerns confidential informants.

THE COURT: I don’t know whether I would
instruct the jury on that or not. I don’t know the
factors of this confidential informant, whether he
is just a person that got caught and is testifying.

MR. ROGERS: He is paid, the government
will not challenge that, as a matter of fact, that’s
the information that they are giving us now, more
and more each day.

THE COURT: I say, all of you have been

involved in investigations and I have been, when

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people say --

MR. BROOKS: It is not a victim of
circumstances, it is the way, the thing comes about
him giving the FBI information.

THE COURT: He can verify the shooting?

MR. BROOKS: It sets the whole thing in
motion.

THE COURT: I say, whatever information, if
there wasn’t a shooting, we wouldn’t be here
probably on this charge.

MR. PICHINI: Your Honor, we asked
something of a variant of that question, almost like
the same number with respect to the -- trying to
determine whether there would be any juror
prejudiced as a result of the government paying
information.

THE COURT: I don’t mind giving it. I’m
just saying I don’t want to start characterizing
witnesses and then someone comes and says the judge
characterized him so and so, and there is no
evidence to support that when selecting a jury. I
don’t know who these witnesses are. I don’t want to
characterize them. Police officers generally, FBI
officers, but this particular witness, if both sides

want me to characterize him, I would characterize

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him and give your number 27.

MR. PICHINI: Even with that, there’s
almost an additional question, which is number 28,
that goes to the question of the government, the
convicted felon, if they have any bias or prejudice.

THE COURT: I don’t know. As I say, I
don’t know the facts of whether these are convicted
felons or what they are.

MR. PICHINI: He is a convicted felon.

THE COURT: I take it he is.

MR. ROGERS: Several times.

THE COURT: I will give that instruction.

MR. PICHINI: The only other question the
government has, you asked the panel about conflicts
with the federal government. There will also bea
number of Philadelphia Police Officers, we would ask
a similar question be asked with respect to
Philadelphia Police Officers.

MR. ROGERS: We would be concerned that
there may be parties who believe the testimony of
the police officer because he is a police officer or
just because he is an FBI agent. I know you covered
it generally, you had it about several other
things. We are concerned, two other FBI agents were

shot here, we want be sure they just won’t believe

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the testimony of an FBI agent.

THE COURT: You can ask it. I asked it.
You can ask it individually or to the panel as a
whole. What do you want?

MR. ROGERS: To the panel as a whole.

THE COURT: All right, no problem.

Anyone else?

What I thought we would probably do, we
have a number of jurors to hear at sidebar, rather
than have them come up to sidebar, I was going to
probably reach a point where the jurors who did not
ask for sidebars and who we do not have to see, and
didn’t ask for sidebar, to excuse them for the
evening, have them report back to the same seat in
the morning. For those that we have to do sidebars
on, to do them, we can do them in open court and I
can put the other jurors in the ante area and call
them in one at a time. It gets pretty difficult
doing a number of witnesses here.

MR. ROGERS: I take it, we will go beyond
the 5 o'clock hour?

THE COURT: I hope not.

MR. ROGERS: I have an appointment that is
coming from out of town, to be in my office at 5

o'clock. When I say out of town, not a long

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distance. If I can keep them from coming, let me do
this. I didn’t mean a witness, someone working on a
case is what I meant to say.

THE COURT: Why don’t I, at 9:30 in the
morning.

MR. ROGERS: This is somebody providing
some -- he is doing work product, put it that way,
for the defense.

THE COURT: I‘11 ask the rest of these
questions, as best I can, permit you to ask that
question that you want to ask of the panel generally
and recess until tomorrow morning. And, have the
jurors who we are going to see at sidebar, we know
we will see at sidebar come in at 9:30, have the
other jurors not come into the courtroom until
admitted, and tell them to report at 10. Then we
can hear the ones at sidebar.

MR. PICHINI: Your Honor, there is one
question that I actually had an affirmative answer
to, I notice it is one of the last ones that we
submitted, that’s whether any people have either
religious or other beliefs that prohibit them from
rendering an opinion, they feel they can’t render an
opinion or pass judgment. I don’t know if you think

it was covered by the frame of mind question.

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THE COURT: I asked it specifically about
race or religion.

MR. PICHINI: I thought it was with respect
to the issue of prejudice. This would be my
question, philosophies or religious beliefs, it is
passing judgment on another individual, number, some
form of 37, your Honor.

THE COURT: All right. I’m easy.

MR. PICHINI: Thank you, sir.

MR. ROGERS: Thank you.

(In open court)

THE COURT: Ladies and gentlemen, I would
ask, does the fact that this case involves alleged
possession of guns and firearms offend you in such a
way, that it would prevent you from rendering a fair
verdict, based solely upon the evidence presented at
trial?

Do you have any feelings about guns and
firearms that would prevent you from being fair to
the defendants in this case?

If your answer to that question revolves
about your feelings of guns and firearms and whether
any feelings that you have would prevent you from
being fair to the defendants in this case; if your

answer is yes, would you kindly raise your hand.

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Would you just state your number and name.
Stand and state your name and number.

JUROR: Roswitha Hoenisch, 141.

JUROR: Fred Keeler, 157.

THE COURT: What is it?

JUROR: 157.

JUROR: Venice Roll, 264.

THE COURT: Does the fact that this case
involves an alleged attempt to kill FBI agents
offend you in such a way, that it would prevent you
from rendering a fair verdict based solely upon the
evidence presented at trial?

Do you have any feelings about violence
which would prevent you from being fair to the
defendants in this case?

There will be a charge which revolves
around an alleged attempt to kill FBI agents, one of
the charges.

Would anything about that type of charge
prevent you from rendering a fair verdict based
solely upon the evidence presented at trial. If so,
would you raise your hand.

All right, if you just stand and give us
your numbers.

JUROR: Roswitha Hoenisch, 141.

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JUROR: Deanna Stewart, 308.

JUROR: Fred Keeler, 157.

JUROR: 126, James Hammerman.

JUROR: 311, Robert Sunshine.

JUROR: 65, Brian Dalton.

JUROR: 57, Dale Conicella.

JUROR: 264, Venice Roll.

THE COURT: It is anticipated that the
government will present testimony of paid
confidential informants and of alleged accomplices
of the defendants.

This type of evidence, while legally
admissible should be subjected to the highest amount
of scrutiny by a jury.

Is there anyone that can not follow an
instruction concerning the scrutiny to be given to
the testimony of that type of paid confidential
informant or accomplice?

If you could not follow an instruction that
you are to scrutinize carefully the testimony of
such a witness, would you kindly raise your hand.

No hands. The answer is recorded as no.

Is there anyone on the panel, who would be
offended or feel it improper for the government to

use the testimony of paid informants or accomplices

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of defendants.

If you feel it is improper for the

government to use that testimony, would you kindly

raise your hand.

no.

There are no hands and it is recorded as

Do you have any opinions, religious

beliefs, philosophies or prejudices, that would

prevent you from being a fair and impartial juror in

this case or that would make you unable to come to a

verdict in this case?

For example, do you believe

that no person should ever be judged or convicted?

For example, do you believe that a person

is guilty just because he is here in court?

Do you have any types of basic beliefs,

opinions, philosophies, that would prevent you from

being a fair juror?

There are no hands and the answer is

recorded as no.

Counsel, do you have any other requests?

MR. ROGERS:

THE COURT:

Yes, I do, your Honor.

Which one?

There was the question I told you that you

could restate.

MR. ROGERS;

THE COURT:

Yes.

Go right ahead.

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MR. ROGERS: If there was any conflict in
testimony between an FBI agent or other law
enforcement officer on the one hand and a civilian
witness on the other hand, is there any among you
who would give more weight to the testimony of the
FBI agent or other law enforcement officer merely
because he was engaged as a law enforcement officer
or as an FBI agent?

THE COURT: There are some hands. Let me
see. Which question -- okay, what’s your number,
sir?

JUROR: Number 157.

JUROR: Number 334.

JUROR: 57.

JUROR: 77.

THE COURT: There are no other hands.
Thank you.

MR. ROGERS: Your Honor, there is a short
second part to that question.

THE COURT: Go right ahead.

MR. ROGERS: Thank you. Would any among
you give less weight to the testimony of an FBI
agent or law enforcement officer for any reason?

(No response. )

THE COURT: Very well.

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MR. ROGERS: Thank you, your Honor.

(Discussion at sidebar, on the record as
follows: )

THE COURT: Counsel, why don’t you look at
your sheets and starting with the jurors as they are
seated, if you believe or if you desire to see a
juror separately and to interrogate a juror
separately, you can so advise and I’1l just run down
the list. Juror 301, Snyder.

MISS LEFEBER: Incidentally, she made that

request.

THE COURT: So, that juror number 66,
Toletio, has requested a -- Daulerio requested a
sidebar?

MISS LEFEBER: Yes.

THE COURT: Juror 171, Lange.

MISS LEFEBER: The same, your Honor.

THE COURT: The juror who has a Florida
vacation but not requested a sidebar. We know he
has a Florida vacation starting September 30th.

Juror number 27 has not requested --
Counsel wishes one, please state.

Juror number 245, not requested, juror
number 185 has not requested. Juror number 32 has

not requested. Juror number 263 has not requested,

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juror number 175 has not requested. Juror number 12
has not requested. Juror number 141 desires a
sidebar. Juror number 77 has told us of the
inconvenience in serving but not requested a
sidebar. Juror number 212 has not requested. Juror
number 104 has requested.

MISS LEFEBER: Your Honor, if I may
interrupt. I believe 77 has requested a sidebar.

MR. PICHINI: She answered positively, your
Honor to the question that Mr. Rogers asked about
the FBI agent.

THE COURT: Very well.

Juror number 212 has not. Juror 104 has
requested. Juror number 308 I believe is a
sidebar. Juror number 313 I believe is a sidebar.
Juror number 325 is a sidebar. Juror number 157 is
a sidebar. Juror number 126, I believe is.

MISS LEFEBER: Yes, your Honor.

THE COURT: Juror number 311, I believe is.

MISS LEFEBER: Yes.

THE COURT: Juror 178 and 34 have not
requested. Juror 290 has not requested. Juror 114
has not requested. Juror 65.

MISS LEFEBER: Yes.

THE COURT: Yes.

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THE COURT: Juror number 357.

MISS LEFEBER: I believe so, yes, your
Honor. —

THE COURT: Yes.

MR. BROOKS: Yes.

THE COURT: Once again, I haven’t factored
in the other,

Juror number 71?

MISS LEFEBER: Yes, your Honor.

THE COURT: All right. Juror number 80.

Juror 115 has not. Juror number 272 has
not. Juror number 334 has not.

MISS LEFEBER: Yes, sir.

MR. BROOKS: Yes.

THE COURT: All right. Juror number 37,
yes.

Now other than the ones identified, do you
have any addition? The only question is what time
will we come in tomorrow.

MISS LEFEBER: Your Honor, has 264, next to
last, 264.

You have 334, 264 and 37.

THE COURT: 264, 37 and one other number.

MISS LEFEBER: 264, the last page.

MR. BROOKS: Do you have 66 and 104?

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THE COURT: 66, I know that. I have 104,
yes.

(In open Court.)

THE COURT: Members of the jury --

MR. PICHINI: Excuse me, your Honor, there
is one matter, maybe we should discuss at sidebar.

(Discussion at sidebar, on the record as
follows: )

MR. PICHINI: Your Honor, ironic enough,
juror 175, Levinthal, he is the individual that
knows Miss Lefeber, he doesn’t know me but I know
his brother. His brother is my next store neighbor.

MISS LEFEBER: We are even.

MR. PICHINI: I wanted to convey that and
place it in the record. He lives in Ardmore, he may
be in contact with his brother, during the trial.

We are neighbors. I’m a neighbor, his brother is my
next store neighbor.

THE COURT: I don’t care.

MISS LEFEBER: I have no problem with it,
if you have no problem with me.

You disclosed, you did what you wanted to
do.

THE COURT: Let me say this, what I’11 tell

the jurors I identified to be here at 9:30, I

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suspect that it will take us longer than an hour.
What I think we may do, so the others don’t have to
mill about the hall, have them come in at say 10:15,
and tomorrow morning, in the jury room here, we can
conduct the sidebars in this jury room so that the
jurors can come in here to sit down and we will
conduct the sidebar in there with the defendants
present.

MR. BROOKS: I always wanted to see what
the jury room looked like.

THE COURT: You will be disappointed. We
have no windows, no pictures. It is reach a
verdict, reach a verdict. You will be disappointed
what it looks like.

Okay.

(In open court)

THE COURT: The following jurors are to be
seated in your place as you are today, tomorrow
morning at 9:30. Juror 301, juror number 66, juror
number 171, juror number 141, juror number 77, juror
number 104, juror number 308, juror number 325,
juror number 313, juror number 157, juror number
126, juror number 311, juror number 65, juror number
57, juror number 71, juror number 334, juror number

264 and juror number 37.

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We will see each of you individually about
whatever matter it is that you wish to advise the
Court about.

All other jurors are to report to this
courtroom by 10:15 tomorrow morning. You need not
come in at 9:30, be here at 10:15. If your name is
on the list, be here at 9:30. We will conduct the
individual voir dires.

JUROR: I’m sorry, 313. I didn’t ask for a
sidebar.

THE COURT: Okay.

You had told us what you wanted us to know,
you have a grandchild?

JUROR: That’s the one.

THE COURT: Okay.

Did anyone want to see her notwithstanding
the fact that she has not personally requested a
sidebar?

There may be information that makes a
sidebar appropriate, even though it is not
requested.

MISS LEFEBER: No.

MR. PICHINI: No, your Honor.

THE COURT: You need not come in until

10:15.

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JUROR: Number 65. I didn’t ask fora
sidebar.

MR. BROOKS: We need him.

THE COURT: I believe we have some
questions to ask you anyway.

Anyone else?

(No response. )

THE COURT: Please do not discuss among
yourselves or with anyone else anything that has
happened in this room. Please do not, those of you
with some knowledge of this case, do not tell it to
your fellow jurors.

We want you now not to discuss anything
about the case until we have a jury, until the Court
tells you, you can discuss it.

MR. DOSS: I wanted to note that the second
juror was away, at the very beginning of your
statements. I don’t know other jurors told him.

THE COURT: Mr. Daulerio, you are to report
here at 9:30 in the morning. Please do not discuss
the case, it makes it that much more difficult to
get jurors that have no knowledge of the case or as
little of the case as is possible.

We will see you tomorrow morning. We think

we will have a jury before noon.

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Thank you.

(Trial adjourned at 4:55 p.m.)

I, SIDNEY ROTHSCHILD, being a United States
Court Reporter, United States District Court,
Eastern District of Pennsylvania, do hereby certify
that I was authorized to and did report in shorthand
the above and foregoing proceedings, and that
thereafter my shorthand notes were transcribed under
my supervision, and that the foregoing pages contain
a true and correct transcription of my shorthand
notes taken therein.

Done and signed this 10th day of March,
1995, in the City of Philadelphia, County of
Philadelphia, State of Pennsylvania.

— “Ni a
SIDNEY S. ROTHSCHILD

U.S. Court Reporters
United States District Court
Eastern District of Pennsylvania

